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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK


CENTAURO LIQUID OPPORTUNITIES
MASTER FUND, L.P.,
                                                     Civil Action No. 15-cv-9003 (LTS) (SN)
                              Plaintiff,

               vs.                                    ORAL ARGUMENT REQUESTED

ALESSANDRO BAZZONI, CINQUE TERRE
FINANCIAL GROUP, LTD., CT ENERGIA
LTD., and CT ENERGIA LTD. d/b/a
ELEMENTO LTD.,

                            Defendants.


    PLAINTIFF’S NOTICE OF MOTION FOR PARTIAL SUMMARY JUDGMENT

       PLEASE TAKE NOTICE that upon the accompanying Affidavit of Yvonne Morabito;

the Declaration of Byron Pacheco, together with the exhibits thereto; Plaintiff’s Rule 56.1

Statement of Material Facts; Plaintiff’s Memorandum of Law submitted herewith; the amended

complaint; and all other pleadings and proceedings in this action, Plaintiff Centauro Liquid

Opportunities Master Fund, L.P. (“Centauro”), by and through its undersigned counsel, will

move this Court, before the Honorable Laura Taylor Swain, at the Daniel Patrick Moynihan

United States Courthouse, 500 Pearl Street, New York, New York 10007-1312, at a time and

date to be determined by the Court, for an Order granting partial summary judgment to Centauro

pursuant to Federal Rule of Civil Procedure 56, as set forth in the accompanying Memorandum

of Law, and any other and further relief as the Court deems just and proper.

       Pursuant to Section A(2)(b)(ii) of the Court’s Individual Practices, Centauro certifies that

the parties have conferred and used their best efforts to resolve matters raised in this motion and

were unable to do so.
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Dated this 28th day of September, 2018.



                                              Respectfully submitted,

                                              BOIES SCHILLER FLEXNER LLP

                                              By:       /s/ Byron Pacheco
                                                    Donald L. Flexner
                                                    Randall W. Jackson
                                                    Byron Pacheco
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